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MUNGER CHADWICK, P.L.C.
National Bank Plaza

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Tucson, Arizona 85711
Telephone: (520) 721-1900
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Mark E. Chadwick
mechadwick(@mungerchadwick.com
ASB # 014991

Attorney for: Plaintiff

 

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

KOLEEN GALLAGHER,

Plaintiff/
Judgment Creditor,
vs.

RICHARD JAMES. GALLAGHER,

Defendant/
Judgment Debtor

and

JPMorgan Chase Bank, N.A.
c/o CT Corporation System
3800 N. Central Ave., Suite 460
Phoenix, AZ 85012

Executee/Garnishee.

 

 

STATE OF ARIZONA _ )
SS
County of Pima

NO. 4:17-MC-00005

AMENDED
APPLICATION FOR WRIT OF
EXECUTION
(Non-Earnings)

(Rule 69, Fed. R. Civ. Pro;
A.R.S, §§12-1572 — 1597)

MARK E. CHADWICK, being first duly sworn, deposes and says:

 
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. He is the attorney for the above named Judgment Creditor, and is authorized

to make this Affidavit

. Plaintiff has recovered judgment against Judgment Debtor Richard James

Gallagher.

. The amount of the outstanding balance on the Judgment or order, including

accrued interest and allowable costs is $192,2 . Interest accrues at the
rate of .58% per annum. The cost of serving the Writ of Execution will be as
shown on the Affidavit of Service and may be added to the Judgment along
with allowable costs.

. I believe the Executee/Garnishee is holding money for judgment debtor which

is not exempt from collection.

. | have provided Executee’s/Garnishee’s name and address in the caption

above.

I have attached a completed Writ of Execution and Summons form and ask
that the Writ be issued.

DATED this C bay of December, 2017.
MUNGER CHADWICK, P.L.C.

OL. GLA

Mark E. Chadwick
Attorney for Judgment Creditor

 

SUBSCRIBED AND SWORN to before me this yt of December, 2017, by
Mark E. Chadwick.

My

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Notary Publig/

 

 

  

 

POPRICIAL SEAL
SZ. DONOLYN JOHNSEN
ZF NOTARY PUBLIC - State of Arizona

 

 

 

 
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Form 2650 (12/15)

United States Bankruptcy Court 4

 

Eastern District Of ___ Virginia
In re Richard James Gallagher ) 6
Debtor ~~ ) Case No, 14-14746-B
)
) Chapter 7 —
Koleen Gallaher _ )
Plaintiff )
)
. v. )
Richard James Gallagher _ ) Adv. Proc. No. _15-01027
Defendant )
CERTIFICATION OF JUDGMENT FOR
REGISTRATION IN ANOTHER DISTRICT
I, clerk of the United States Bankruptcy Court, do certify that the attached judgment is a true
and correct copy of the original judgment entered in this proceeding on 01/29/2016 _ as
It appears in the records of this court, and that: (date)

14] No notice of appeal from this judgment has been filed, and no motion of the kind set forth in
Federal Rule of Civil Procedure 60, as made applicable by Federal Rule of Bankruptcy
Procedure 9024, has been filed.

C1 No notice of appeal from this judgment has been filed, and any motions of the kind set forth in
Federal Rule of Civil Procedure 60, as made applicable by Federal Rule of Bankruptcy
Procedure 9024, have been disposed of, the latest order disposing of such a motion having been

 

entered on -
(date)
(J An appeal was taken from this judgment, and the judgment was affirmed by mandate of the
issuedon
(name of court) (date) ~

(] An appeal was taken from this judgment, and the appeal was dismissed by order entered on

 

 

(date)
WILLIAM C. REDDEN
Clerk of the Bankruptey Court
Jume 29,2017 By: /s/ Jillinda Glenn
Date Deputy Clerk
A TRUE COPY TESTE.

WILLIAM C. REDDEN CLER

BY: Ho Z ; Lith te

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¢ DEPUTY CLERK ~~
Case 4:17-mc-00005-RM Document 13 Filed 12/04/17 Page 4 of 5

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Case 4:17-mc-00005 Document 1-1 Filed 07/10/17 Page 1 of 2

  
  

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF VIRGINIA
Alexandria Division

In re: }
)
RICHARD JAMES GALLAGHER, j Case No. 14-14746-BFK
) Chapter 7
Debtor )
3
KOLEEN GALLAGHER, )
} Adversary Proceeding
Plaintiff, } No. 15-01027-BFK
)
vs. )
)
RICHARD JAMES GALLAGHER, )
)
Defendant, )
ORDER

This matter came before the Court for a trial on the merits on October 29 and 30, 2015 on
the Plaintiff's complaint seeking to declare certain debts non-dischargeable pursuant to 11
U.S.C. §§ 523(a}(2)(A), 523(a)(4), 523(a)(6). The Court has entered Findings of Fact and
Conclusions of Law with respect to the Complaint. Docket No. 48. For the reasons stated in the
Court's Findings of Fact and Conclusions of Law, it is
ORDERED:
1, The sum of $192,272.48 is non-dischargeable pursuant to 28 U.S.C. § 523(a)(2)(A).
2. The balance of the Plaintiff’ s investment and loans is dischargeable.

3. The Clerk will mail copies of this Order, or provide electronic notice of its entry, the

‘ A TRUE COPY TESTE:
parties below. WILLIAM C. Af CrERK
, dan 29 2016 /s/ Brian F. Kenney \i ut og fds
Date: Be BY Fay Aji L4c4 /
Brian F. Kenney —+ DEPUTY CLERK
Alexandria, Virginia United States Bankruptcy Judge -

Entered an Docket Jan 28 2016
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Copies to:

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Tucson, Arizona 85711

Counsel for Plaintiff

Richard James Gallagher
5820 Lowell Avenue
Annandale, VA 22003
Defendant

George E. Tuttle, Jr., Esquire

1225 Martha Custis Drive, Suite 103
Alexandria, VA 22302-2017
Counsel for Defendant
